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                     EXHIBIT D
           Case 1:15-cv-07433-LAP Document 1330-22 Filed 01/05/24 Page 2 of 22




From:                            G Maxwell <GMaxl@ellmax.com>
Sent:                            Sunday, January 11, 2015 6:26 AM
To:                              JJep
Subject:                         Fw:




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INSTAGRAM
PLEDGE
THE DAILY CATCH
From: Philip Barden
Sent: Sunday, 11 January 2015 05:27
To:
Cc: G Maxwell
Subject: Re:

Saying nothing is reputational suicide. Even if AR is discredited by AD people will know JE paid her off and
believe G was complicate absent a credible denial.

Now it is reported that G engaged in direct abuse - as I feared would happen. Next reports to the authorities will
be made.

It is necessary from a litigation, investigatory and reputational reason to issue a cogent denial.

I can see why JE doesn't want this as it may not suit him but he is already toast.


Philip

Sent from my iPhone




Had Geordie on the phone half a dozen times today.

He would have give us a better hearing than most I figure.

Strongly believe saying nothing is the wrong thing - especially as Dershowitz has a big piece coming in The
Times on Monday.



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Rest up and speak Monday
Best
Ross
Sent from my BlackBerry® wireless device

From: Philip Barden
Date: Sat, 10 Jan 2015 18:27:12 +0000
To: G Maxwell<GMax l @ellmax.com<mailto:GMax l@ellmax.com>>
Cc: Ross Go
Subject: Re:

All

I am back on line now.

I see the statement didn't go. Monday? Maybe tomorrow?

I will speak to Jeffery Epstein's lawyer but JE has a conflict with you and will want your silence as whilst you
are being attacked there is less heat on him.

Either Virginia Roberts is lying or not. If we let her lie without challenge then the lies become the reality and
that may lead to you facing investigation. These are serious allegations and In the UK prosecuting people who
face allegations of sex abuse is now common place and a lot of resources are focused on this.

We can't sit back and let you be a conspirator by silence.

Your are not guilty and must follow Dershowtiz line. He is a leading lawyer and he hasn't followed the don't say
anything for fear of litigation. He has rightly called YR bluff and shouted his innocence.

You have to stand up and deny the allegations or be branded guilty by association and that may lead to other
investigations and worse.

I feel I am going around in circles.

I know what is right to do and that is to shout your innocence.

Try and get some rest. Call me tomorrow if you want anytime.

Speak to Deshowitz.

Don't allay yourself to JE as that is not the way to go.

Best


Philip



Sent from my iPhone

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On 10 Jan 2015, at 16:02, "G Maxwell"
<GMax l@ellmax.com<mailto:GMax l@ellmax.com><mailto:GMax l@ellmax.com>> wrote:


I am out of my depth to understanding defamation and other legal hazards and don't want to end up in a law suit
aimed at me from anyone if I can help it. Apparently even saying Virginia is a lier has hazard! I have never
been in a suit criminal or civil and want it to stay that way.
The US lawyers for the Jane Does are filling additional discovery motions and if I speak I open my self to being
part of discovery apparently. I am trying to stay out of litigation and not have to employ lawyers for years as I
get lost in US legal nightmare. I stand no legal risk currently on these old charges and civil suits against Jeffrey
We need to consult with US lawyers on any statement I make and the complaints too
Perhaps we make a statement of the legal risk of saying anything for potential defamation or something that
prevents a full and frank detailed rebuttal + the press not being the place for that? Regardless, Philip plse call
jeffrey lawyer and see what you can understand from him and pehaps craft something in conjunction with him?
Either way I think you need to speak to him to understand my risk so you can help me understand it - too may
cooks in the kitchen and I can't make good decisions. Plse reach out to him today
+ I have already suffered such a terrible and painful loss over the last few days that I can't even see what life
after press he'll even looks like - statements that don't address all just lead to more questions .. what is my
relationship to clinton ? Andrew on and on.
Let's rest till monday. I need head space




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complaints procedure may be obtained by contacting the Senior Clerk of that Chambers, whose contact details
can be found online, or from us. Complaints may be made direct to the barrister/ their Chambers. Please note
that there may be a time limit for bringing your complaint. You may also have the right to ask the Legal
Ombudsman to consider your complaint at the end of the complaints process. Information on complaints to the
Legal Ombudsman, including the details of strict time limits to bring a complaint, may be found at
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From:                          jeffrey E. <jeevacation@gmail.com >
Sent:                           Sunday, January 11, 2015 3:27 PM
To:                            Gmax



what did you decide to do?



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From:                           jeffrey E. <jeevacation@gmail.com>
Sent:                           Wednesday, January 21, 2015 4:16 PM
To:                             Gmax



Ask press to investigate whether Clinton was ever there . Challenge the press




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From:                   jeffrey E. <jeevacation @gmail.com >
Sent:                   Wednesday, January 21, 2015 12:01 PM
To:                     Gmax



Since JE was charged in 2007 for solicitation of a prostitute I have been
the target of outright lies, innuendo, slander, defamation and salacious
gossip and harrasment; headlines made up of quotes I have never given,
statements I have never made, trips with people to places I have never
been, holidays with people I have never met, false allegations of
impropriety and offensive behavior that I abhor and have never ever been
party to, witness to events that I have never seen, living off trust funds that
I have never ever had, party to stories that have changed materially both in
time place and event depending on what paper you read, and the list goes
on.


I have never been a party in any criminal action pertaining to JE


For the record:


At the time of Jeffrey's plea I was in a very long-term committed
relationship with another man and no longer working with Jeffrey. Whilst
I remained on friendly terms with him up until his plea, , I have had
limited contact since


Every story in the press innuendo and comment has been taken from civil
depositions against JE, which were settled many years ago. None of the
depositions were ever subject to cross examination, not one. any

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standard of truth and were used for those who claimed they were victims
to receive financial payment to be shared between them and their lawyers.
One firm created and sold fake cases against Mr. Epstein - the firm
subsequently imploded and the Rothstein, the owner of the firm was sent
to jail for 50 years for his crime. The lawyer who is currently representing
Virgina was his partner. need I say morel



These so called 'new revelations' stem from an alleged diary from VR that
reads like the memoirs she is purporting to be selling. Also perhaps
pertinent - in a previous complaint against others, her claims were rejected
by the police

"due to .. VR .. lack of credibility "



The new interest in this old settled case results from lawyers representing
some of JE victims filed a suit against the US government not JE . They
contend that the Us govt violated their rights.

The document and deal that JE negotiated with the government was given
to the lawyers 6 years ago and is a public document.



I am not part of, nor did you have anything to do with, JE plea bargain


I have never even seen the proceedings nor any of the depositions




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I reserve my right to file complaint and sue for defamation and slander




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From:                                jeffrey E. <jeevacation@gmail.com >
Sent:                                Wednesday, January 21, 2015 4:47 PM
To:                                  G Maxwell
Subject:                              Re: FW: Guardian



This will now end but I think a dismissive statement is ok

On Wednesday, January 21, 2015 , G Maxwell <GMaxl@ellmax.com> wrote:
See bellow

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From: Ross Gow
Date: Wednesday, January 21, 2015 at 17:45 PM
To: Phi li p Barden, gmax
Subject: Fwd: Guardian

So this isn't getting better ... latest from our chums at The Guardian.

---------- Forwarded message----------
From: Jon Swaine
Date: Wednesday, January 21, 2015
Subject: Guardian
To:



Ross
As discussed - here is the new affidavit from Virginia Roberts . She claims to have had sex with Ms Maxwell
when Roberts was 15 years old.

She alleges that Ms Maxwell was "heavily involved in the illegal sex" and "she had sex with underage girls virtually every day when I
was around her".

Roberts also says that Ms Maxwell "had large amounts of child pornography that she personally made".


Please do pass on any comment or response Ms Maxwell would like to make.



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Thanks and all best

Jon




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From:                           jeffrey E. <jeevacation@gmail.com>
Sent:                           Thursday, January 22, 2015 12:44 PM
To:                              Gmax



ive tried to call. what have you decided?



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From:                          jeffrey E. <jeevacation@gmail.com >
Sent:                           Friday, January 23, 2015 4:46 PM
To:                             G Maxwell
Subject:                        Re: FW: Hi



should not be legal.

On Fri, Jan 23, 2015 at 6:03 PM, G Maxwell <GMaxl@ellmax.com> wrote:
gawker have printed the entire address book, albeit redacted x

Sent from my iPad




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From:                           jeffrey E. <jeevacation@gmail.com>
Sent:                            Friday, January 23, 2015 6:40 PM
To:                             G Maxwell
Subject:                         Re: Hi



I am convinced your statement should be be about the clinton story being easily dsiporived.

On Fri, Jan 23, 2015 at 8:07 PM, G Maxwell <GM ax l @ellmax.com> wrote:
My friends are apoplectic ..
Do you know what edwards et al want from all this shit? What are they looking for? What is the end game?



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From: jeffrey E.
Sent: Friday, 23 January 2015 18:46
To: G Maxwell
Subject: Re: FW: Hi

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From:                           jeffrey E. <jeevacation@gmail.com>
Sent:                            Friday, January 23, 2015 6:14 PM
To:                             G Maxwell
Subject:                         Re: Hi



publiclity

On Fri, Jan 23, 2015 at 8:07 PM, G Maxwell <GMaxl@ellmax.com> wrote:
My friends are apoplectic ..
Do you know what edwards et al want from all this shit? What are they looking for? What is the end game?



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From: jeffrey E.
Sent: Friday, 23 January 2015 18:46
To: G Maxwell
Subject: Re: FW: Hi

should not be legal.

On Fri, Jan 23, 2015 at 6:03 PM, G Maxwell <GMaxI@ellmax.com> wrote:
gawker have printed the entire address book, albeit redacted x

Sent from my iPad




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From:                           jeffrey E. <jeevacation@gmail.com >
Sent:                           Sunday, January 25, 2015 4:30 PM
To:                             G Maxwell
Subject:                         Re: Update - FYI



thnaks

On Sun, Jan 25, 2015 at 7:27 PM, G Maxwell <GMaxI @ellmax.com> wrote:
All had quietened down over here in last 24 hours but just googled you all again and under JE the daily mail
printed a story 6 hours ago that they picked up from the daily beast which is jane doe l's testimony (and video
interview) about how Haley robson recruited her to give je one massage when she was 14 and goes into detail
about what happened -

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From:                          jeffrey E. <jeevacation@gmail.com>
Sent:                          Sunday, January 25, 2015 4:41 AM
To:                            G Maxwell
Subject:                        Re:



ok, with me, You have done nothing wrong and i woudl urge you to start acting like it. go outside, head high,
not as an esacping convict. go to parties. deal with it. . i had Iisa svenson the swedish ocean
ambassador yesteady she said no one on her ocean panel takes this stuff seriously and you would be welcoe to
the ocean conferenec water conference etc.

On Sat, Jan 24, 2015 at 1:22 PM, G Maxwell <GMaxl@ellmax.com> wrote:
I would appreciate it i f - would come out and say she was your g'friend - I think she was from end 99 to
2002

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From:                           G Maxwell <GMaxl@ellmax.com>
Sent:                           Tuesday, January 27, 2015 10:36 AM
To:                             jeffrey E.
Subject:                         Re:



I have not decided what to do

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From: jeffrey E.
Sent: Tuesday, 27 January 2015 11:50
To: G Maxwell
Subject:

what has happned to you and your statmenet??



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